|
Case: 1:16-cv-08637 Document #: 4748 Filed: 06/17/21 Page 1 of 5 PagelD #:302892

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

IN RE BROILER CHICKEN ANTITRUST Case No. 1:16-cv-08637
LITIGATION

 

 

This Scheduling Order No. 16 supersedes the Court’s previous Scheduling Order No. 2
(ECF Dkt. 574) issued on December 15, 2017, Scheduling Order No. 6 issued on September 13,
2018 (ECF Dkt. 1230), Scheduling Order No. 9 issued on November 19, 2018 (ECF Dkt. 1416),
Scheduling Order No. 12 issued on July 15, 2019 (ECF Dkt. No. 2322), Scheduling Order No. 13
issued on January 29, 2020 (ECF Dkt. No. 3420), Scheduling Order No. 14 (ECF Dkt. 3788) issued
on August 28, 2020, and Scheduling Order No. 15 (ECF Dkt. 4641) issued on May 13, 2021. The
parties are directed to the separate Search Methodology Order (ECF Dkt. 586) for any additional
deadlines relating to the search of electronically stored information. Additionally, the Court orders
that the requirement of Fed. R. Civ. P. 45(a)(4) for notice to other parties before service of a
subpoena shall be 4 business days after the day notice and a copy of the subpoena are provided,
which shall be computed pursuant to Fed. R. Civ. P. 6(a)(1).

A party receiving objections or productions from a third party in response to a Rule 45
subpoena will serve a copy of those objections or documents on other parties within 7 days, unless
otherwise agreed. A party that receives a non-Bates numbered production (or production without
a load file) from a third party in response to a Rule 45 subpoena shall serve those documents on

other parties within 10 days, unless otherwise agreed by the parties. A party receiving a production
Case: 1:16-cv-08637 Document #: 4748 Filed: 06/17/21 Page 2 of 5 PagelD #:302893

from a third party in response to a Rule 45 subpoena that includes information relating to a

deposition scheduled within 7 days must notify all parties within 48 hours of receipt.

 

 

 

Event ' Deadline
Parties Respond to Contention Interrogatories Served Prior June 18, 2021
to February 28, 2021
Deadline to Complete All Merits Fact Discovery As Permitted July 30, 2021?

by the Court’s Order dated September 22, 2020 (Dkt. 3835)
for Parties in the Case as of January 30, 2021!

 

Deadline for Defendants to Complete All Merits Fact Six months after date of
Discovery of Direct Action Plaintiffs that file on or after reassignment based on
February 1, 20213 relatedness in above-

captioned matter*

 

 

 

 

 

! This deadline does not apply to (i) depositions stayed or partially stayed pursuant to the
request by the U.S. Department of Justice set forth in (Dkt. 4557) or (ii) depositions subject to a
motion for protective order, which are subject to the separate deadline set forth below. The Court’s
assumption underlying this Scheduling Order 16 is that all Plaintiffs will be able to take the stayed
depositions they need to take before they respond to Defendants’ motions for summary judgment
and before trial. (See 5/7/21 Hr’g Tr. (Dkt. 4625) at 21-22.) This deadline also may not apply to
other discovery that may be deferred by agreement of the parties. This deadline also does not
apply to any discovery stayed by the Court’s Order dated September 22, 2020 (Dkt. 3835).

2 The Court extends the fact discovery close date to July 30, 2021 only as specified on the
record at the May 24, 2021 hearing. (Dkt. 4714.)

3 With respect to any discovery not stayed by the Court’s order dated September 22, 2020

(Dkt. 3835), Direct Action Plaintiffs who file on or after February 1, 2021 will not be able to seek
discovery of Defendants after the deadline set forth in the immediately preceding paragraph and
FN 2 without a court order allowing such discovery to occur.

4 For certain DAPs who filed in between February 1, 2021 and the date of this Order, the
parties have separately negotiated discovery schedules and will attempt to adhere to those as
negotiated.
Case: 1:16-cv-08637 Document #: 4748 Filed: 06/17/21 Page 3 of 5 PagelD #:302894

 

Event

Deadline

 

Plaintiffs to Identify Merits Experts By Topics to Facilitate
Scheduling®

August 17, 2021

 

Plaintiffs’ Affirmative Merits Expert Reports Due

Deadline By Which Any DAP Must Be Reassigned as Related
in In re Broiler Chicken Antitrust Litigation to be Considered
for Participation in Initial Trial

August 31, 2021

 

Parties to Identify Supplemental Documents for Meet and
Confer per Dkt. 3727

September 17, 2021°

 

Deadline to Conclude Meet and Confer Regarding
Evidentiary Issues Relating to Documents per Dkt. 3727

November 4, 2021

 

Joint Submission on Any Additional Discovery Requested Per
Dkt. 3727 Concerning Evidentiary Issues Relating to
Documents

November 17, 2021

 

Deadline to Depose Plaintiffs’ Merits Experts

Defendants to Identify Merits Experts By Topics to Facilitate
Scheduling’

 

 

December 7, 2021

 

 

5

The parties will identify by name any class certification expert who is also serving as a

merits expert. However, the parties need not identify by name any new experts disclosed at this
time, but instead can refer to them generically such as “Defendant Expert 2,” etc.

6

It is understood that all Parties will make a good faith effort to identify by September 17,

2021 all documents which they have identified as requiring Meet and Confer per order at Dkt.
3727. This exchange process also does not preclude the parties from seeking to establish

authenticity or admissibility of other documents in advance of trial.
;

The parties will identify by name any class certification expert who is also serving as a

merits expert. However, the parties need not identify by name any new experts disclosed at this
time, but instead can refer to them generically such as “Defendant Expert 2,” etc.

3

 
Case: 1:16-cv-08637 Document #: 4748 Filed: 06/17/21 Page 4 of 5 PagelD #:302895

 

 

 

 

 

 

Event Deadline
Defendants’ Affirmative & Rebuttal Merits Expert Reports December 17, 2021
Due
Expiration of Stay on Depositions of DOJ-Requested January 3, 2022
Witnesses and Topics
Deadline to Depose Defendants’ Merits Experts March 25, 2022
Plaintiffs’ Rebuttal Merits Expert Reports Due April 8, 2022
Deadline to Complete Depositions Previously Requested by May 11, 2022

U.S. Department of Justice to be Stayed or Partially Stayed

 

 

 

Deadline to Depose Plaintiffs’ Rebuttal Merits Experts May 13, 2022
Summary Judgment Opening Briefs & Merits Daubert June 10, 2022
Motions Filed®

Summary Judgment Responses & Merits Expert Daubert September 9, 2022
Responses Filed

 

Summary Judgment Replies & Merits Expert Daubert Replies November 21, 2022
Filed

 

 

 

 

 

8 Pre-summary judgment motion conference with Judge Durkin to be set on a date to be

determined. The parties request that the conference take place at a time shortly after the Court
rules on class certification and related motions.
Case: 1:16-cv-08637 Document #: 4748 Filed: 06/17/21 Page 5 of 5 PagelD #:302896

 

 

Event Deadline
First Trial Commences? TBD after the Court has

considered the parties’
7/16/2021 trial plan
submissions!?

 

 

 

 

SO ORDERED.

Dated: b| INZ

   

Y T. GILBERT:
ISTRATE JUDGE

 
 

 

? The Court will decide the number, sequence and timing of trials at a later date.

10 Consistent with the Court’s guidance at the May 24, 2021 hearing, Defendants request that
this date should be no fewer than eight months from the conclusion of summary judgment briefing.
(See 5/24/21 Hr’g Tr. (Dkt. 4714) at 15:23-25 (I probably would build in the eight months from
the time that the summary judgment briefs are done and trial would commence.”).)

5
